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12   Apple Inc.

13
                                    UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
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17
     ASHLEY GJOVIK,                                 Case No. 23-cv-4597-EMC
18
                       Plaintiff,                   DEFENDANT APPLE INC.’S
19                                                  ADMINISTRATIVE MOTION AND
              v.                                    [PROPOSED] ORDER TO STAY
20                                                  APPLE’S DEADLINE TO RESPOND
     APPLE INC.,                                    TO PLAINTIFF’S MOTION TO
21                                                  AMEND & SUPPLEMENT
                       Defendant.                   COMPLAINT [DKT. 155]
22
                                                    Judge:     Hon. Edward M. Chen
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                                                             APPLE’S ADMIN. MOTION RE: OPP. TO
                                                                       MOT. TO AMEND COMPL.
     4123-7633-3400
                                                                       CASE NO. 23-CV-4597-EMC
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                                          APPLE’S ADMIN. MOTION RE: OPP. TO
                                                    MOT. TO AMEND COMPL.
     4123-7633-3400
                                                    CASE NO. 23-CV-4597-EMC
 1             Pursuant to N.D. Cal. Civil Local Rules 6-3 and 7-11, Apple Inc. files this administrative

 2   motion to stay Apple’s deadline to respond to Plaintiff’s Motion to Amend & Supplement

 3   Complaint (“Motion to Amend”) (Dkt. 155).

 4            The Court is currently scheduled to hear Apple’s Motion to Dismiss Plaintiff’s Fifth

 5   Amended Complaint (Dkt. 145) on February 21, 2025; that motion is fully briefed, with Plaintiff

 6   having filed her (overlength and untimely) opposition (Dkt. 150) on January 22, 2025 and Apple

 7   having filed its reply (Dkt. 152) on January 28, 2025. Rather than waiting for the Court to consider

 8   and decide the Motion to Dismiss focused on the operative complaint, Plaintiff filed a Motion to

 9   Amend on January 31, 2025—along with an untimely (ten days late) Request for Judicial Notice
10   (Dkt. 154), and a separate Motion to Disqualify the undersigned firm as counsel for Apple (Dkt.

11   156). Apple asks this Court to stay Apple’s deadline to respond to the Motion to Amend pending

12   the February 21, 2025 case management conference and Motion to Dismiss hearing in this matter,

13   at which time the Court could set an appropriate briefing schedule if it intends to entertain the

14   Motion to Amend.1 Apple asked Plaintiff to stipulate to this relief (pursuant to Local Rule 6-2(a)(2))

15   but Plaintiff did not do so. See Riechert Decl. filed herewith, ¶2.

16            Plaintiff’s improper Motion to Amend is part of a pattern of conduct from Plaintiff that

17   flouts applicable rules, prejudices Apple by requiring expenditure of time and resources to address

18   improper filings, and improperly burdens the Court. See Nov. 19, 2024 Order (Dkt. 137) at 3 (noting

19   Plaintiffs’ repeated “violations of [the Court’s] orders” including her failure to comply with page
20   limits); id. at 3 n.3 (Plaintiff “now on notice that there are consequences” for flouting applicable

21   rules and orders). In violation of Local Rule 7-2(b), the Motion to Amend memorandum of points

22   and authorities is in a stand-alone document 31 pages in length. Moreover, Plaintiff’s Motion to

23   Amend seeks leave to file a Sixth Amended Complaint to replead previously dismissed and/or

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       In addition, in violation of Local Rule 7-2(a), Plaintiff noticed the Motion to Amend and Motion
25   to Disqualify for hearing on February 27, 2025, less than 35 days after they were filed. The Court
     has already corrected this error via Dkt. 157, which reset the hearing on both Dkt. 155 and Dkt. 156
26   for March 13, 2025. Because that order does not change Apple’s deadline to oppose to the Motion
     to Amend (which is currently February 14, 2025 per Local Rule 7-3(a)), this administrative motion
27   for relief is still needed. Apple does not seek administrative relief with respect to any other
     deadlines and will respond to Plaintiff’s Request for Judicial Notice and Motion to Disqualify on
28   the schedule dictated by the Rules.
                                                                     APPLE’S ADMIN. MOTION RE: OPP. TO
                                                      -1-                      MOT. TO AMEND COMPL.
     4123-7633-3400
                                                                               CASE NO. 23-CV-4597-EMC
 1   abandoned claims, as well as to amend claims that are presently subject to Apple’s fully briefed

 2   Motion to Dismiss and which the Court did not give leave to amend. Requiring Apple to brief an

 3   opposition to an overlapping Motion to Amend would impose unnecessary costs and introduce

 4   inefficiencies into these proceedings.

 5            Accordingly, Apple requests the Court stay its deadline to respond to Plaintiff’s Motion to

 6   Amend and set a briefing schedule, if necessary, at or after the February 21, 2025 case management

 7   conference and hearing on Apple’s pending Motion to Dismiss. Apple makes this request in the

 8   interest of judicial economy and to avoid prejudice to Apple if forced to brief issues that have

 9   already been decided by the Court and/or that are presently before the Court in connection with a
10   different fully-briefed motion. See Yok Hing L. v. Alameda Cnty. Superior Ct., No. C-13-2873

11   EMC, 2013 WL 12170635, at *1 (N.D. Cal. Dec. 20, 2013) (noting that “[d]istrict courts have the

12   inherent power to control their dockets”). Plaintiff’s repeated, seriatim, and overlapping filings

13   attempting to relitigate issues already decided and endlessly expand the scope of this case should

14   not be permitted to prejudice Apple or consume excessive resources of this Court.

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16   Dated: January 31, 2025                            ORRICK, HERRINGTON & SUTCLIFFE LLP
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                                                        By:           /s/ Melinda S. Riechert
19                                                                    MELINDA S. RIECHERT
                                                                  Attorneys for Defendant, Apple Inc.
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                                                                    APPLE’S ADMIN. MOTION RE: OPP. TO
                                                     -2-                      MOT. TO AMEND COMPL.
     4123-7633-3400
                                                                              CASE NO. 23-CV-4597-EMC
 1                                        [PROPOSED] ORDER

 2
              Good cause appearing, Apple Inc.’s Administrative Motion to Stay its deadline to respond
 3
     to Plaintiff’s Motion to Amend & Supplement the Complaint (Dkt. 155) is GRANTED. The Court
 4
     will set a briefing schedule, as necessary, at or after the February 21, 2025 case management
 5
     conference and hearing on Apple’s pending Motion to Dismiss (Dkt. 145).
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              IT IS SO ORDERED.
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     DATED:                                               ____________________________
 9
                                                          The Honorable Edward M. Chen
10                                                        United States District Court Judge

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                                                                  APPLE’S ADMIN. MOTION RE: OPP. TO
                                                    -3-                     MOT. TO AMEND COMPL.
     4123-7633-3400
                                                                            CASE NO. 23-CV-4597-EMC
